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r:                                                                COURT EXHIBIT



     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK


      UNITED STATES,
                             V.
                                                                 No. 16-CR-371 (RA)
      JOHN GALANIS, DEVON ARCHER,
      and BEVAN COONEY,

                              Defendants.


     RONNIE ABRAMS, United States District Judge:

                                    QUESTIONS FOR JURORS

            Please indicate if your answer to any of the following questions is "yes" by circling
     the number of that question and informing the Court when asked. If your answer to every
     part of a question is "no," you need not do anything. Do not write your name or make any
     other marks on the questionnaire. If, when asked about a "yes" answer, you prefer not to
     explain your answer in open court, please say so and we will talk in a more private setting.

     I.     General Questions

            1.     Based on my summary, do you have any personal knowledge of the facts or
                   allegations in this case other than what I have told you thus far?

            2.     Have you heard, read, or seen anything through the media, internet, or any
                   other source that you think, for any reason, would affect your ability to be a
                   fair and impartial juror in this case?

     II.    Trial Participants

           3.      The defendants in this case are, first, John Galanis, who is also sometimes
                   referred to as "Yanni." He is represented at this trial by David Touger of the
                   law firm Peluso & Touger. Do you know, know of, or, to your knowledge,
                   have you or any of your relatives or close friends had any dealings, directly
                   or indirectly, with any of these individuals or their relatives, close friends, or
                   associates?
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     4.        The second defendant in this case is Devon Archer. He is represented at this
               trial by Matthew Schwartz of the law firm Boies Schiller Flexner LLP. Do
               you know, know of, or, to your knowledge, have you or any of your relatives
               or close friends had any dealings, directly or indirectly, with any of these
               individuals or their relatives, close friends, or associates?

     5.        The third defendant in this case is Bevan Cooney. He is represented at this
               trial by Paula Notari of the law office of Paula J. Notari, and Abraham
               Abegaz-Hassen of the law firm O'Neill and Hassen. Do you know, know of,
               or, to your knowledge, have you or any of your relatives or close friends had
               any dealings, directly or indirectly, with any of these individuals or their
               relatives, close friends, or associates?

     6.        The Government is represented here by the Acting United States Attorney
               for the Southern District of New York-Robert Khuzami. The conduct of
               the trial will be in the immediate charge of Assistant United States Attorneys
               Rebecca Mermelstein, Brendan Quigley, and Negar Tekeei. Joining the
               Assistant United States Attorneys at counsel's table are Ellie Sheinwald and
               Eric Wissman, paralegals with the U.S. Attorney's Office, and Shannon
               Bieniek, a Special Agent with the FBI. Do you know, know of, or, to your
               knowledge, have you or any of your relatives or close friends had any
               dealings, directly or indirectly, with any of these individuals or their
               relatives, close friends, or associates?

     7.        Do you know, know of, or have you had any dealings, directly or indirectly,
               with any of the following individuals or entities whose names may come up
               during the trial, or who may be witnesses in this case:

                                            Individuals

Abduov, Nurlan                   Cohen, Neil                      Fascio, Adam
Allen, Michael                   Cole, Clifford                   Fillman, Matthew
Anderson, Tim                    Cooper, Jeffrey                  Finnerty, John
Archer, Breck                    Crafton, Billy                   Fulton, Eric
Archer, Kier                     Cole, Clifford                   Galanis, Chandra
Archer, Krista                   Connell, Bill                    Galanis, Jared
Archer, Palin                    Deary, Richard                   Galanis, Jason
Atkins, Paul                     Devine, Marcelle                 Ginter, Brett
Berger, Monet                    Driever, Catharine               Gluckman, Alexis
Berger, Ralph                    Dunkerley, Hugh                  Godfrey, Andrew
Biden, Joe                       Duross, Agata                    Greenwood, John
Biden, Hunter                    Eisen, Harvey                    Griffen, Leo
Bluebird, Deb                    Eisen, Margaret                  Guess, Philip
Clements, Dina                   Ezekiel, David                   Guffey, Lawrence
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Haines, Martha                   McClory, Dan                      Shimaitis, Matthew
Harris Keith                     McGinness, Michael                Shone, Michael
Haynes, Steven                   McMillan, David                   Smith, Mike
Heinz, Chris                     Milken, Michael                   Sohn, Paul
Henselen, Keith                  Ming, Jiang                       Standingbear, Wilma
Hirst, Gary                      Momtazi, Sebastian                Sugarman, Elizabeth
J annace, William                Moore, Cliff                      Sugarman, Jason
Kaplan, Mark                     Moran, John                       Sugarman, Steven
Kendall, Dayna                   Morton, Michelle                  Thompson, Heather
Kerry, John                      Moynihan, Molly                   Thunelius, Gerald
Knight, Rory                     Myles, Glenn                      Tumey, Daniel
Laby, Arthur                     Nathaniel, Peter                  Underwood, Mac
Laventhirarajah, Saranya         Oremlund, Deborah                 Waddington, Mark
Lisa, Carolyn                    Patten, Jarrod                    Walch, Pat
Liu, Yaojun (Larry)              Pigliucci, Alex                   Walter, Beth
Leonard, Kevin                   Raines, Raycen                    Wearing, Chris
Lonehill, Geneva                 Rasmussen, Randy                  Weiss, Stephen
Loughran, Dennis                 Richerson, Timothy                Wheeler, Pat
Lungstrum, Justin                Roche, Sara                       Whisnant, Steve
Mahoney, Michael                 Santos, Enrique                   Wolff, Clifford
Malkin, Justin                   Schatz, Eugene                    Wicker, Devin
Mann, Lucas                      Schwerin, Eric                    Wilke, David
Martin-F emandez,                Sellers, Ronald                   Wool, Kyle
Francisco                        Schatz, Eugene
McCarthy, Valerie                Shapiro, Steven

                                           Entities

Archer Diversified Investment LLC                 Calvert Capital Partners G.P.
Archer Diversified TCG                            Chicago Transit
Atlantic Asset Management                         City National Bank
Ballybunnion                                      Code Rebel
BAM Holdings                                      Condor Financial
Birmingham Water Works Board                      COR Capital
BOE Capital                                       COR Fund Advisors
Bonwick Capital Partners                          COR International
Bermuda International Insurance Services          COR Securities
Limited ("BIISL")                                 COR Securities Holdings
BFG Socially Responsible                          Dillworth Paxson
Investing/Investments                             Dodson Diversified
Burnham                                           Flikmedia
Burnham & Co.                                     Flikdate
Burnham Asset Management                          Gerova Financial Group, Ltd.
Burnham Financial Group ("BFG")                   Greenberg Traurig
Burnham Investment Trust                          GMT Duncan
Burnham Securities, Inc.                          Hughes Capital Management
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Insurance Company of the Americas                 Tag Virgin Islands
Kirin International                               Teneo Consulting
Lausanne LLC                                      Terrapin Insurance
MBloom                                            Thorsdale Fiduciary and Guaranty
Michelin North America, Inc. Master Trust         Company, Ltd.
Investment Committee                              Thunder Valley Engineering
Mgmt International Longshoremen' s                US Bank
Association (MILA)                                Valor Group Ltd.
Milk Drivers Local 246                            Valor Investment Group
Morgan Stanley                                    Valorlife Lebensversicherungs AG
Omaha School Employees' Retirement                Vaudoise Assurances Holding SA
System                                            VL Assurance (Bermuda) Ltd.
Philadelphia Housing Authority                    Wakpamni Lake Community Corporation
Richmond Retirement                               Washington Suburban Sanitary Commission
Rosemont Capital LLC                              Wealth Assurance AG
Rosemont Realty                                   Wealth-Assurance Beteiligungs AG
Rosemont Seneca Bohai                             Wealth Assurance Holdings
Rosemont Seneca Partners                          Wealth Assurance Private Client
Rosemont Seneca Technology Partners               Corporation
RSTP Capital                                      Welling Investment Corporation PTE Ltd.
Seymour Capital                                   Wolff Law Firm
Sovereign Nations

       8.     Certain conduct at issue in this case took place at the following locations:

                         1920 Bel Air Road, Los Angeles, California
                                   260 West Broadway
                                     152 W. 57th Street

              What do you know about these areas? Are you familiar with these specific
              locations? Do you think that your familiarity with these areas will affect your
              ability to be a fair and impartial juror in this case?

       9.     As you look around this room, do you recognize anyone else you know?

III.    Issues Relating to Subject Matter of this Case

       10.    During this trial, you are going to hear evidence about the financial industry,
              about the issuance of bonds, and about the operations of asset managers and
              investment advisors. You may have seen articles about the role of bonds and
              the financial industry generally in the recession that took place in 2008. But
              this case is not about the recession, or the causes of the recession. This case
              must be decided fairly and exclusively on the evidence that you see and hear
              during trial. Do you believe that the nature of the charges will affect your
              ability to be a fair and impartial juror in this case?
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11.   More specifically, you will hear evidence in this case concerning bonds
      issued by a Native American Tribal entity. In simple terms, a bond is a type
      of loan. Investors buy a bond from a government, municipality, corporation
      or other entity and the entity agrees to pay the investors back, with interest,
      on specified terms. You will hear evidence in this trial about the issuance of
      bonds, the rules that govern such issuances, and the various entities that
      participate in such issuances. Do you, or any of your relatives or close
      friends, work in the bond industry?

12.   You will also hear evidence about the issuance of shares of stock, the rules
      that govern such share issuances and the listing of stocks on securities
      exchanges like the New York Stock Exchange. Is there anything about your
      own investment experience, or your views on the securities industry more
      broadly, that will affect your ability to be a fair and impartial juror in this
      case?

13.   Have you, or any of your relatives or close friends, worked in the securities
      industry or for a financial services company?

14.   You will also hear evidence about investment advisers, who are people that
      provide investment advice and manage assets for individuals or institutional
      investors. Have you worked as, or invested with, an investment adviser?

15.   Have you lost money from your investments due not to market forces or other
      innocuous reasons, but instead due to alleged mismanagement by someone
      providing you investment advice or otherwise managing assets on your
      behalf? If so, would that affect your ability to be a fair and impartial juror in
      this case?

16.   Do you have any op1mon about the federal criminal laws relating to
      conspiracy, securities fraud, wire fraud or investment adviser fraud-or their
      enforcement-that would affect your ability to be a fair and impartial juror
      in this case?

17.   You may hear about transactions involving tens of millions of dollars, and
      wealthy individuals. Will the fact that this case involves wealthy individuals
      and transactions involving large sums of money affect your ability to be a
      fair and impartial juror in this case?

18.   Have you, or any of your relatives or close friends, ever brought a claim
      against a broker, investment advisor, or other person or firm in the financial
      industry?
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      19.   Do you watch any financial or business-related programming, or follow any
            financial or business-related news, that would affect your ability to be a fair
            and impartial juror in this case?

      20.   In this case, there will a lot of finance-related and other technical testimony.
            Do you have any particular knowledge of any of these subjects through
            education, work, personal experience, or otherwise?

      21.   Have you ever felt that you, or any relatives or close friends, were taken
            advantage of in a business or financial transaction?

      22.   Have you ever relied on the advice of a stock broker, investment manager,
            investment advisor, securities trader, investment analyst, investor, or anyone
            else to help you make investment decisions?

      23.   Have you ever relied on an investment adviser or asset manager in regards to
            a pension or retirement fund?

      24.   Have you ever made or lost so much money at one time that it changed your
            lifestyle?

      25.   This case involves a Native American tribal entity. Do you, or any of your
            relatives or close friends, have any connection or dealings with any Native
            American tribal entities? If you learn that a Native American tribal entity
            lost money through a bond issuance in this case, would that affect your ability
            to be a fair and impartial juror?

IV.   Issues Relating to Experience with Legal System

      26.   Do you, or any of your relatives or close friends, work for or with any federal,
            state or local law enforcement agency, such as the United States Postal
            Inspection Service or the FBI, the police or sheriff's department, district
            attorney's office, the United States Attorney's Office or the Securities and
            Exchange Commission, commonly referred to as the SEC?

      27.   Do you, or any of your relatives or close friends, work for a criminal defense
            lawyer or private investigator?

      28.   Are you, or any or your relatives or close friends, law clerks, court attendants,
            court clerks, other types of court personnel, probation officers, or persons
            connected with any correctional institution, jail, or prison?
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29.    Have you, or any of your relatives or close friends, ever been a witness or a
       complainant in any federal or state prosecution?

30.    Have you, or any of your relatives or close friends, ever been involved or
       appeared as a witness in any investigation by a federal or state grand jury, or
       by a Congressional or state legislative committee, licensing authority, or
       governmental agency?

31.    Have you, or any of your relatives or close friends, ever been the subject of
       any investigation or accusation by any federal or state grand jury, or by any
       congressional committee?

32.    Have you, or any of your relatives or close friends, ever been questioned in
       any matter by a federal, state, or local law enforcement agency, including the
       United States Attorney's Office, the United States Department of Justice, the
       United States Postal Inspection Service, or the Federal Bureau of
       Investigation?

33.    Are you, or any of your relatives or close friends, now under subpoena or, to
       your knowledge, about to be subpoenaed in any criminal case?

34.    Have you, or any of your relatives or close friends, ever been charged with a
       crime?

3 5.   Have you ever been involved, or do you expect to become involved, in any
       legal action or dispute with the United States or any agency, officer, or
       employee of the United States, or have you had any financial interest in such
       a dispute?

36.    Have you, or any of your relatives or close friends, ever been a victim of any
       crime, including a securities or financial fraud?

37.    Have you, or any of your relatives or close friends, ever been a witness to a
       crime?

38.    Have you-either through any experience that you have had, or anything that
       you have seen or read-developed any strongly held views, either for or
       against, the United States Department of Justice, the United States Attorney's
       Office, the FBI or the Securities & Exchange Commission that would affect
       your ability to be a fair and impartial juror in this case? Any other federal,
       state, or local law enforcement or regulatory agency?
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     39.    Have you-either through any experience that you have had, or anything that
            you have seen or read-developed any strongly held views, either for or
            against, a criminal defense lawyer or a private investigator that would affect
            your ability to be a fair and impartial juror in this case?

     40.    Do you have any feelings about individuals who have been charged with
            financial fraud or securities fraud?

     41.    Do you believe that our system of criminal justice improperly favors anyone?

V.    Views on Evaluating Evidence and Witnesses
     42.    The witnesses in this case may include, among others, agents of the FBI or
            the United States Postal Inspection Service, and employees of the SEC and
            the Financial Industry Regulatory Authority ("FINRA"), an independent
            regulator for securities firms doing business in the United States. Do you
            have any strong feelings, impressions, or opinions about law enforcement
            officers or government employees that would affect your ability to be a fair
            and impartial juror in this case? Would you be more likely to believe or
            disbelieve a witness because he or she is a law enforcement officer or works
            for an independent regulator?

     43.   Do you have any expectations about the types of evidence that the
           Government might present in criminal trials? Would you be unable to follow
           the Court's instruction that the Government is not required to use any
           particular techniques when investigating and presenting evidence of a crime?

     44.   Some of the witnesses called by the Government may have past criminal
           convictions, or may have been involved in some of the crimes charged in the
           indictment. These witnesses have pled guilty and are testifying pursuant to
           lawful cooperation agreements with the Government. Some of these
           witnesses may be hoping that their cooperation will result in a reduced
           sentence or some other benefit. There is nothing unlawful about the
           Government's use of such witnesses. Do you have problems with this type
           of witness such that it will affect your ability to be a fair and impartial juror
           in this case?

     45.   You may hear testimony from witnesses who have been immunized for their
           testimony in this case. At the end of the case, I will give you more detailed
           instructions on these matters. For now, it is enough for you to know that if a
           witness has been immunized, the Government may not use that witness's
           testimony, or any evidence derived from that testimony, against the witness
           in a future prosecution. Such a grant of immunity does not, however, prevent
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       the Government from later prosecuting the witness for any crimes about
       which the witness testified. I instruct you that the use of immunity is a legal
       and often necessary tool to compel the attendance of witnesses who
       otherwise may decline to testify by asserting their right against self-
       incrimination. Do you have any feeling about the Government's use of
       immunity that would affect your ability to be a fair and impartial juror in this
       case?

46.    You also may hear testimony from expert witnesses. Have you had any
       experiences with experts, or do you have any feelings about the use of
       experts, that would affect your ability to be a fair and impartial juror in this
       case?

4 7.   You may hear evidence in this trial of criminal activity committed by people
       other than the defendants. Those other individuals are not on trial here. You
       may not draw any inference, favorable or unfavorable, towards the
       Government or the trial defendants from that fact. You also may not
       speculate as to the reason why other persons are not on trial. Would you
       have any difficulty following my instructions on the law in this regard?

48.    I will also instruct you that you are to give any witness called by the
       government and any witness called by the defense no greater or lesser weight
       simply because they are called by the government or by the defense. Would
       you have any difficulty following my instructions on the law in this regard?

49.    Under our Constitution, a defendant does not have to testify, because the
       burden of proof beyond a reasonable doubt remains with the Government at
       all times. If a defendant does not testify, the jury may not draw any
       unfavorable inference against that defendant based on that decision. That
       fact cannot enter at all into the jury's deliberations. Would you have any
       difficulty following my instructions on the law in this regard?

50.    In addition, under our Constitution, a defendant is under no obligation to
       present any evidence or case on his own behalf. It is the government that
       must prove its case beyond a reasonable doubt. If a defendant elects not to
       present any evidence, the jury cannot draw any adverse inference against him
       based on that decision. That fact cannot enter at all into the jury's
       deliberations in any way. Would you have any difficulty following my
       instructions on the law in this regard?
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VI.     Ability to Follow the Law
       51.    Do you have any religious, philosophical, or other beliefs that would make
              you unable to render a verdict for reasons unrelated to the evidence or the
              Court's instructions?

       52.    Will you have any difficulty following the Court's instructions even if you
              do not agree with them?

       53.    Do you have any problem with the legal principle that the burden of proof in
              a criminal case rests solely on the government?

       54.    Does the fact that these defendants were indicted change your view of them?

VII.    Prior Jury Service and Lawsuits
       55.    Have you ever been a juror in a criminal or civil case, state or federal? If so,
              please state whether each case was in state or federal court, whether it was a
              criminal or civil matter, and, without telling me what the verdict was,
              whether a verdict was reached.

       56.    Have you ever served as a grand juror, state or federal? If so, please indicate
              where and when you served, and describe, in general terms, the kinds of cases
              you heard.

       57.    Have you ever been a plaintiff or a defendant in a lawsuit, meaning have you
              ever sued someone or been sued? If so, what was the nature of the
              allegations?

VIII. Function of the Court and Jury

       58.    The function of the jury is to decide questions of fact. As a juror, you are the
              sole judge of the facts and nothing that the Court or the attorneys say or do
              may intrude in any way on your role as the exclusive fact finder. However,
              when it comes to the law, you are to take your instructions from the Court
              and you are bound by those instructions. You may not substitute your ideas
              of what the law is or what you may think the law should be. At the conclusion
              of this case, your job will be to determine whether or not the defendants are
              guilty as charged in the Indictment. Would you have any difficulty following
              my instructions on the law in this regard?

       59.    Will you accept the proposition that the question of punishment is for the
              Court alone to decide and that the possible punishment must not enter into
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             your deliberations as to whether the defendants on trial here are guilty or not
             guilty?

      60.    Will you accept the proposition of law that sympathy must not enter into the
             deliberations of the jurors as to whether each defendant is guilty or not guilty,
             and that only the evidence produced here in Court may be used by you to
             determine whether the defendants are guilty or not guilty of the crimes
             charged?

      61.    It is not a particularly pleasant duty to find another individual guilty of
             committing a crime. Even if the evidence established a defendant's guilt
             beyond a reasonable doubt, would you have difficulty rendering a guilty
             verdict for reasons unrelated to the law and the evidence?

      62.    On the other hand, if the government fails to prove a defendant's guilt beyond
             a reasonable doubt, would you hesitate to render a verdict of not guilty?

      63.    In these questions, I have tried to direct your attention to possible reasons
             why you might not be able to serve as a fair and impartial juror. Aside from
             the previous questions I have asked, do you have the slightest doubt, for any
             reason whatsoever, about your ability to be a fair and impartial juror in this
             case?

IX.    Difficulties in Understanding or Serving
             This trial is expected to last approximately four to six weeks. The jury will
             typically sit from 10:00 a.m. to 5:00 p.m. Mondays through Thursdays unless
             the jury is deliberating, in which case it will also sit on Fridays.
      64.    Do you have any physical problem, disability, medical issue, or other
             personal or emotional hardship that may prevent you from serving as a juror
             and giving full attention to all of the evidence at this trial?

      65.    Do you have problems with your hearing or vision which would interfere
             with your ability to follow the evidence in this case?

      66.    Are you taking any medication that prevents you from giving full attention
             to all of the evidence at this trial?

      67.    Do you have any difficulty in reading or understanding English?

      68.    Is there any other reason why you may not be able to give your full attention
             to the trial, or serve responsibly as a juror?
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X.   Questions for Individual Jurors

     1.    Without mentioning your exact address, what neighborhood do you live in?
           If fewer than five years, state where else you have lived in the last five years.

     2.    How far did you go in school and what did you study?

     3.    If you are employed, who is your employer? If retired or unemployed, for
           whom did you last work?

     4.    What is your job title and what are your responsibilities?

     5.    How long have you been employed in your current position? If fewer than
           five years, where else have you worked in the last five years?

     6.    Who are the members of your household and what are their occupations?

     7.    Do you have children, and, if so, are they grown? If you have grown
           children, what are their occupations?

     8.    How do you get your news?

     9.    What, if anything, do you enjoy reading?

     10.   Do you watch any television shows on a regular basis? If so, which ones?

     11.   Do you listen to talk radio or Podcasts? If so, what stations or programs?

     12.   Do you regularly visit any websites or utilize social media? If so, which
           ones? Who are some of the notable people you follow?

     13.   Are you a member of any organizations, clubs, associations, or unions, or do
           you volunteer your time?

     14.   What do you like to do in your spare time?

     15.   Name a public person, dead or alive, other than a relative, friend, or associate,
           whom you admire.

     16.   Aside from the questions that have already been asked, is there anything else
           you believe that this Court or any of the parties might want to know in
           deciding whether you should be selected to serve as a juror in this case?
